Case 17-72264-pwb        Doc 39     Filed 10/01/18 Entered 10/01/18 16:38:31               Desc Main
                                    Document     Page 1 of 7




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                                 )       CHAPTER 7
                                                       )
DARRELL WAYNE REED,                                    )       CASE NO. 17-72264-PWB
                                                       )
DEBTOR.                                                )

                                NOTICE OF HEARING ON
                           UNITED STATES TRUSTEE’S MOTION
                                 TO EXTEND DEADLINE

       PLEASE TAKE NOTICE that the United States Trustee has filed a Motion to Extend

Deadline.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the

United States Trustee's Motion in Courtroom 1401, Richard Russell Bldg, 75 Ted Turner Dr.

SW, Atlanta, Georgia 30303, at 10:00 a.m. on, October 23, 2018.

       Your rights may be affected by the court's ruling on this motion. You should read

this motion carefully and discuss it with your attorney, if you have one in this bankruptcy

case. (If you do not have an attorney, you may wish to consult one.) If you do not want

the court to grant the relief sought in this motion or if you want the court to consider your

views, then you and/or your attorney must attend the hearing. You may also file a written

response to the motion with the Clerk at the address stated below, but you are not

required to do so. If you file a written response, you must attach a certificate stating

when, how and on whom (including addresses) you served the response. Mail or deliver


                                                  1
Case 17-72264-pwb        Doc 39    Filed 10/01/18 Entered 10/01/18 16:38:31               Desc Main
                                   Document     Page 2 of 7




your response so that it is received by the Clerk at least two business days before the

hearing. The address of the Clerk's Office is: Room 1340, Richard Russell Bldg, 75 Ted Turner

Dr. SW, Atlanta, Georgia 30303. You must also mail a copy of your response to the

undersigned at the address stated below.

Dated: October 1, 2018
                                                      DANIEL M. McDERMOTT,
                                                      UNITED STATES TRUSTEE,
                                                      REGION 21

                                                      s/ Martin P. Ochs
                                                      MARTIN P. OCHS
                                                      NY Bar No. MO-1203
                                                      GA Bar No. 091608
                                                      United States Department of Justice
                                                      Office of the United States Trustee
                                                      362 Richard B. Russell Building
                                                      75 Ted Turner Dr., S.W.
                                                      Atlanta, Georgia 30303
                                                      (404) 331-4437
                                                      martin.p.ochs@usdoj.gov




                                                 2
Case 17-72264-pwb    Doc 39   Filed 10/01/18 Entered 10/01/18 16:38:31   Desc Main
                              Document     Page 3 of 7




                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN RE:                                       )    CHAPTER 7
                                             )
DARRELL WAYNE REED,                          )    CASE NO. 17-72264-PWB
                                             )
DEBTOR.                                      )


                     MOTION TO EXTEND DEADLINE

      COMES NOW Daniel M. McDermott, United States Trustee for Region 21

(the “United States Trustee”), and, pursuant to Federal Rule of Bankruptcy

Procedure 4004(b), moves the Court to enter an order extending time to object to

discharge. In support of this motion, the United States Trustee shows as follows.


                                        1.

      On December 29, 2017, Michael Darrell Wayne Reed commenced this case

by filing a voluntary petition for relief under chapter 7 of the United States

Bankruptcy Code.

                                        2.

      On September 14, 2018, SYNOVUS BANK, a Georgia banking corporation,

formerly known as Columbus Bank and Trust Company, a Georgia banking

                                        3
Case 17-72264-pwb    Doc 39   Filed 10/01/18 Entered 10/01/18 16:38:31      Desc Main
                              Document     Page 4 of 7




corporation, successor in interest by merger with Bank of North Georgia, a

Georgia banking company, filed a complaint (the “Complaint”) against Mr. Reed

pursuant to Bankruptcy Code sections 727(a)(2), 727(a)(4)(A), and 523(a)(2).

                                            3.

      The allegations in the Complaint include false representations by Mr. Reed

of his income, concealment of certain income, concealment of certain vehicles,

concealment of his interest in certain deposit accounts and other accounts, and

false oaths by Mr. Reed on his bankruptcy petition, schedules and statement of

financial affairs and at his 341 meeting.

                                            4.

      Mr. Reed has not yet filed an answer.

                                            5.

      The complaint came to the United States Trustee’s attention on September

24, 2018, when the chapter 7 trustee in this case sent the Complaint to the United

States Trustee.

                                            6.

      The chapter 7 trustee advised the United States Trustee that he was

previously unaware of the facts and circumstances raised in the Complaint.

                                            4
Case 17-72264-pwb     Doc 39   Filed 10/01/18 Entered 10/01/18 16:38:31       Desc Main
                               Document     Page 5 of 7




                                           7.

        Federal Rule of Bankruptcy Procedure 4004(a) provides that in a chapter 7

case a complaint objecting to discharge must be filed no later than 60 days after the

first date set for the section 341(a) meeting of creditors. The deadline for filing a

complaint under section 727 was March 26, 2018. The Clerk has not yet entered a

discharge in this case.

                                           8.

        Federal Rule of Bankruptcy Procedure 4004(b) provides that “[a] motion to

extend time to object to discharge may be filed after the time for objection has

expired and before discharge is granted if (A) the objection is based on facts that, if

learned after the discharge, would provide a basis for revocation under §727(d) of

the Code, and (B) the movant did not have knowledge of those facts in time to

permit an objection.”

                                           9.

        The United States Trustee wishes to review this case under section 727 to

determine whether there is a basis for filing a complaint to deny discharge in this

case.



                                           5
Case 17-72264-pwb   Doc 39   Filed 10/01/18 Entered 10/01/18 16:38:31      Desc Main
                             Document     Page 6 of 7




      WHEREFORE, the United States Trustee requests the Court extend the

deadline for the United States Trustee to file a complaint to deny discharge. The

United States Trustee requests the deadline be extended to November 16, 2018.

                                           DANIEL M. McDERMOTT,
                                           UNITED STATES TRUSTEE,
                                           REGION 21

                                           s/ Martin P. Ochs
                                           MARTIN P. OCHS
                                           NY Bar No. MO-1203
                                           GA Bar No. 091608
                                           United States Department of Justice
                                           Office of the United States Trustee
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                                       6
Case 17-72264-pwb   Doc 39   Filed 10/01/18 Entered 10/01/18 16:38:31   Desc Main
                             Document     Page 7 of 7




                        CERTIFICATE OF SERVICE

      I certify that on October 1, 2018, I served a copy of this motion upon the
following persons by First Class U.S. Mail with proper postage.

Darrell Wayne Reed
3391 Annanadale Lane
Suwanee GA 30024

J. Keith Cornwell
Cornwell Law Firm, LLC
Suite 400
2180 Satellite Blvd.
Duluth GA 30097

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta GA 30305


                                           s/ Martin Ochs
                                           Martin P. Ochs




                                       7
